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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA

Deborah Laufer,
Plaintiff,

 v.                                           Civil Action No. 4:20-cv-00189

FIVE STAR HOSPITALITY LLC,
Defendant.

NOTICE OF DISMISSAL [FRCP 41(A)] AND ORDER OF DISMISSAL

      Plaintiff, by and through undersigned counsel, hereby notifies this Court
pursuant to FRCP 41(a)(1)(A)(i) that this action is dismissed with prejudice as
to all claims, causes of action, and parties, with each party bearing that party’s
own attorney’s fees and costs.


Dated: September 28, 2020

/s/ Tristan W. Gillespie
Tristan W. Gillespie, Esq.

THOMAS B. BACON, P.A.
5150 Cottage Farm Rd.
Johns Creek, GA 30022

ATTORNEYS FOR PLAINTIFF,
DEBORAH LAUFER




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                           ORDER OF DISMISSAL

Pursuant to Federal Rule of Civil Procedure 41(a)(1)(i), IT IS ORDERED THAT

THIS ACTION BE, AND HEREBY IS, DISMISSED WITH PREJUDICE as to

all claims, causes of action, and parties, with each party bearing that party’s own

attorney’s fees and costs. The Clerk is directed to close the file.



Dated: September 28, 2020



                            ___________________________
                           UNITED STATES DISTRICT JUDGE




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